                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

 I-INITED STATES OF AMERICA
                                        CASE NO. 6:16'cr-24-Orl-3 IGJK


 JASON ALEXANDER PHIFER

           REQTIEST FORLEAYE TO DISMISS INDICTMENT

       Pursuant to Fed. R. Crim. P. 48(a), Maria Chapa Lopez, the United

States Attomey for the Middle District of Florida, hereby requests leave   of

Court to dismiss the Indictment pending against Defendant Jason Alexander

Phifer in the above-captioned case.

       The United States has consulted with Alisha Marie Nair, counsel for

the Defendant, and has been advised that the Defendant does not object to the

requested relief.

       WHEREFORE, the United States respectfully requests that this Court

grant the requested leave to dismiss the Indictment against Defendant Jason

Alexander Phifer in the above-captioned case, without prejudice, and direct
the Clerk ofCourt to close the case as to said defendant.



                                      Respecffirlly submitted,

                                      MARIACHAPALOPEZ


                                      '/s/ Vinent   S. Chiu
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U.S. v. JASON ALEXANDER PHIFER Case No. 6:16-s-2A-Orl-31 GJK

                        CERTIFICATE OF SERYICE

       I   hereby certiry that on March 20, 2019,          I   electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which             will

send a notice of electronic filing to the following:

      Alisha Marie Nair
      Assistant Federal Defender

      Mark Rosenblum
      Assistant Federal Defender


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